 

Case 3:15-cr-00240-MHT-CSC Document 108 Filed 05/15/20 Page 1 of 2

IN THE L rie SBS DISTRICT COURT
FOR THE-MIBDL DISTRICT OF ALABAMA
EAS IWISION
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UNITED STATES OF AMERICA, pant Cl
BRERA TY. PaicT COURT

   
 
     

of “ST YOR NO, 3:15-CR-240-MHT-CSC
)
STEPHEN HOWARD )

GOVERNMENT’S MOTION TO SEAL
Comes now the United States of America, by and through Louis V. F ranklin, Sr., United
States Attorney for the Middle District of Alabama, and Mark E. Andreu Assistant United States
Attorney, and respectfully requests that Government’s Response to a Court Order to “Show
Cause” be sealed.
The Response contains sensitive information that should not be available to the public.
Respectfully submitted this 15" day of May 2020.

LOUIS V. FRANKLIN, SK

  

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
EASTERN DIVISION

UNITED STATES OF AMERICA
CR.NO. 3:15-CR-240-MHT-CSC

Vv.

STEPHEN HOWARD

was a

CERTIFICATE OF SERVICE
Thereby certify on May 15, 2020, I have served a copy of the foregoing on Stephen
Howard by depositing a copy of same in the United States Mail, first class, postage prepaid and
properly addressed to:

Stephen Howard

Reg. No. 15668-002

Coleman Low Federal Correctional Institution
Inmate Mail/Parcels

P.O. BOX 1031

COLEMAN, FL 33521

Respectfully submitted,

LOUIS V. FRANKLIN, SR.
UNITED S ESA ee

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